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                    UNITED STATES DISTRICT COURT
                               FOR THE
                         DISTRICT OF VERMONT

RUMEYSA OZTURK,               )
                              )
          Petitioner,         )
                              )
     v.                       )          Case No. 2:25-cv-374
                              )
DONALD J. TRUMP, in his       )
official capacity as          )
President of the United       )
States; PATRICIA HYDE, in her )
official capacity as the New )
England Field Director for    )
U.S. Immigration and Customs )
Enforcement; MICHAEL KROL, in )
his official capacity as HSI )
New England Special Agent in )
Charge, U.S. Immigration and )
Customs Enforcement; TODD     )
LYONS, in his official        )
capacity as Acting Director, )
U.S. Immigration and Customs )
Enforcement; KRISTI NOEM, in )
her official capacity as      )
Secretary of the United       )
States Department of          )
Homeland Security; and MARCO )
RUBIO, in his official        )
capacity as Secretary of      )
State,                        )
                              )
          Respondents.        )

                           OPINION AND ORDER

     On April 10, 2025, Petitioner Rumeysa Ozturk filed a Motion

for Release pending the adjudication of her habeas corpus

petition, as governed by Mapp v. Reno, 241 F.3d 221 (2d Cir.

2001). ECF No. 82. Respondents opposed the motion, raising

arguments about this Court’s jurisdiction to consider the
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underlying habeas petition and about Ms. Ozturk’s ability to

meet the Mapp standard for release on bail. ECF Nos. 83, 84, and

103. On April 18, 2025, the Court issued an Opinion and Order

holding, inter alia, that this Court had jurisdiction to

consider Ms. Ozturk’s habeas petition and planned to move

expeditiously to consideration of both Ms. Ozturk’s motion for

release and the petition itself. ECF No. 104.

     On May 9, 2025, following a full bail hearing on

Petitioner’s motion for release under Mapp, the Court ruled from

the bench, granting Ms. Ozturk’s motion and ordering that she be

released immediately from U.S. Immigration and Customs

Enforcement (“ICE”) custody. ECF No. 130. That Order was

reiterated in part later the same day in a text Order. ECF No.

131. This Opinion supplements the May 9 Order from the bench and

subsequent text Order.

                          Procedural Background

     On April 18, 2025, this Court issued an Opinion and Order

in this case. ECF No. 104. The Court “determined that it retains

jurisdiction over Ms. Ozturk’s habeas petition” and found that

“there are no jurisdictional limitations on this Court’s habeas

claims related to her detention.” Id. at 72-73. The Court

further concluded that “Ms. Ozturk has presented viable and

serious habeas claims which warrant urgent review on the

merits.” Id. at 73. On April 22, 2025, the government appealed

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the Court’s Order to the United States Court of Appeals for the

Second Circuit. ECF No. 105. That appeal on the merits remains

pending.

     The Court’s April 18 Order also required the government to

transfer Ms. Ozturk to ICE custody within the District of

Vermont no later than May 1, 2025. On April 22, the government

filed a motion to stay Ms. Ozturk’s transfer to ICE custody in

Vermont. ECF No. 106. On April 24, the Court denied that motion,

rejecting the government’s jurisdictional arguments again and

finding that “the four factors from Nken v. Holder that the

government has identified for evaluating a motion to stay . . .

weigh against the government.” ECF No. 109 at 2.

     Later that day, the government filed an Emergency Motion

with the circuit court, seeking a stay of this Court’s order to

return Ms. Ozturk to Vermont. Emergency Motion Pursuant to

Circuit Rule 27.1(d) for Stay Pending Appeal with Relief Request

by April 29, 2025, Docket No. 25-1019, ECF. No. 19. The

government’s argument predominately focused on the question of

this Court’s jurisdiction to consider Ms. Ozturk’s habeas

petition. Given the procedural posture of the case, the circuit

court evaluated the government’s jurisdictional arguments to

determine whether the government was likely to succeed on the

merits. On May 7, 2025, the circuit court issued an Order

denying the government’s motion for a stay “because the

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government has not met its burden on any of the factors.” Ozturk

v. Hyde, 2025 WL 1318154, at *3 (2d Cir. May 7, 2025).

Significantly, the circuit court found that the government was

not likely to prevail on its arguments that this Court lacks

jurisdiction over Ms. Ozturk’s habeas petition. Id. at *4-13.

      The Court has reviewed the circuit court’s ruling and

notes that nothing therein can be construed as denying this

Court’s continued jurisdiction over Ms. Ozturk’s habeas

petition, including the instant motion for immediate release.

Indeed the circuit court acknowledged this Court’s ongoing

hearing schedule which included a planned bail hearing and

instructed that the Court may amend its hearing schedule if

necessary. Id. at *14. Therefore, the Court will not again

consider the government’s jurisdictional objections which have

already been rejected by this Court and the circuit court.

     On May 8, the Court held a status conference with counsel.

Petitioner’s counsel requested that the Court proceed with the

scheduled May 9 bail hearing, with Ms. Ozturk appearing remotely

if she has not yet been returned to Vermont. Government’s

counsel indicated that the only prejudice they may experience as

a result of such hearing was “tension” between the Court’s April

18 Order requiring Ms. Ozturk’s return to Vermont and the

circuit court’s May 7 Order requiring the same by a later date.

The circuit court, after requiring Ms. Ozturk’s physical

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transfer to Vermont “no later than May 14, 2025” stated that

“the district court may amend its hearing schedule as it deems

necessary in light of this order.” Ozturk, 2025 WL 1318154, at

*14.

       In granting Ms. Ozturk’s motion for return to Vermont, the

Court’s April 18 Order stated that “[Ms. Ozturk’s] presence in

the courtroom will assist the Court in determining potential

bail conditions and whether release is appropriate.” ECF No. 104

at 67. The circuit court similarly noted on May 7 that this

Court’s order was intended in part to allow Ms. Ozturk “to

prepare for and attend her bail and habeas petition.” Ozturk,

2025 WL 1318154, at *13. However, on May 8, Ms. Ozturk waived

her request for in-person appearance at her bail hearing to

avoid further delay, particularly in light of her ongoing and

worsening medical conditions, discussed below. The government

meanwhile did not argue any other prejudice from a remote

appearance by Ms. Ozturk. The circuit court required the

government to return Ms. Ozturk “by” May 14, but the government

was of course free to transport Ms. Ozturk back to Vermont

sooner. In light of Ms. Ozturk’s waiver of her in-person

appearance at her bail hearing, and no concrete prejudice to the

government from Ms. Ozturk’s remote appearance, the Court

determined it was appropriate to proceed with a bail hearing on

May 9, 2025.

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     Before this Court was consideration of the merits of Ms.

Ozturk’s petition for release under Mapp.

                          Factual Background

     The facts of this case were largely set forth in the

Court’s prior Opinion and Order issued April 18, 2025 and again

by the circuit court in its ruling issued May 7, 2025. This

Court assumes familiarity with those facts.

     Briefly stated, the case arises from the arrest and

detention of Ms. Ozturk, a Turkish student who entered the

United States lawfully pursuant to a valid F-1 student visa and

has been engaged in doctoral studies in Child Study and Human

Development at Tufts University. At approximately 5:25 p.m. on

March 25, 2025, while walking near her residence in Somerville,

Massachusetts, Ms. Ozturk was arrested without warning by a

group of armed, plainclothes law enforcement officers, some of

whom were masked. The officers immediately handcuffed her and

led to her to an unmarked vehicle. Ms. Ozturk had not been

notified of her visa revocation or imminent arrest.

     Over the course of the next few hours, she was transported

to an office in Methuen, Massachusetts, then to Lebanon, New

Hampshire, and ultimately to an ICE Field Office in St. Albans,

Vermont. Early the following morning, ICE transported Ms. Ozturk

from Vermont to a detention facility in Basile, Louisiana, where

she remained in ICE custody for over six weeks.

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     To date, the only basis offered by the government to

justify Ms. Ozturk’s arrest is an assessment by the Department

of Homeland Security (“DHS”) and ICE that she “had been involved

in associations that ‘may undermine U.S. foreign policy by

creating a hostile environment for Jewish students and

indicating support for a designated terrorist organization’

including co-authoring an op-ed that found common cause with an

organization that was later temporarily banned from campus.” ECF

No. 91 at 6. The “op-ed” in question, co-authored by Ms. Ozturk

and three other Tufts students, criticized the University’s

response to three resolutions passed by the Tufts Community

Union Senate and asked the University to “acknowledge the

Palestinian genocide, apologize for University President Sunil

Kumar’s statements, disclose its investments and divest from

companies with direct or indirect ties to Israel.” ECF No. 123

at 6. In an April 1, 2025, declaration, Tufts University

President Kumar attested that Ms. Ozturk’s co-authored op-ed

“was not in violation of any Tufts policies” and that “no

complaints were filed with the University or, to our knowledge,

outside of the University about this op-ed.” ECF No. 26-1 at 67.

President Kumar further noted that the same newspaper also

published other “op-eds on multiple sides of the issue with

opinions that were shared just as strongly as the op-ed Ms.

Ozturk co-authored.” Id.

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     Ms. Ozturk was not informed, prior to her arrest, that DHS

and ICE were pursuing visa revocation or that the revocation had

occurred. In fact, a memo from the Bureau of Consular Affairs

required that the revocation “be silent; the Department of State

will not notify the subject of the revocation.” ECF No. 91-1 at

6. With respect to Ms. Ozturk’s movements immediately post-

arrest, her counsel has submitted affidavits from experienced

immigration attorneys stating that such successive transfers,

particularly to those locations, were highly unusual. See, e.g.,

ECF No. 82-3 at 4 (“In my 16 years of practice, I have not seen

or even heard of an ICE detainee arrested in Massachusetts being

booked and repeatedly moved in the manner described in that

declaration.”). And as to her detention generally, other

immigration practitioners have opined that detention in a case

such as this – involving revocation of an F-1 visa and

termination of a SEVIS record – is equally unusual. See, e.g.,

ECF Nos. 122-4 at 5; 122-5 at 4.

     Ms. Ozturk reported poor treatment and unsanitary

conditions during her detention in Louisiana. Several of her

concerns pertained to her health. Ms. Ozturk suffers from

asthma, which requires daily medication. ECF No. 82-10 at 4.

Prior to her arrest, she had suffered approximately 13 asthma

attacks in her life, commonly lasting between 5 and 15 minutes.

Id. She informed the Court on May 2 that since her arrest, she

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had suffered at least 8 additional attacks lasting anywhere from

5-45 minutes. ECF No. 122-9 at 3. She is concerned about the

severity of the attacks and her ability to manage them. Id. When

not incarcerated, Ms. Ozturk is more able to control her

environment and avoid exposure to triggers. Id. at 4.

     Ms. Ozturk also reported poor medical care at the facility.

For example, she was allegedly told that an asthma attack was

“all in her head,” and her questions to a doctor were belittled.

Id. at 7. She witnessed other women experience significant

delays in receiving care. A physician who reviewed Ms. Ozturk’s

medical history and spoke to her recently believes, in her

professional opinion, that if not released Ms. Ozturk would be

at risk for progressive symptoms, worsening disease control, and

perhaps even “potentially fatal asthma exacerbation.” ECF No.

122-10 at 8.

     Stress is one of Ms. Ozturk’s asthma triggers, and she

attested that her time in detention has been stressful. Officers

at the facility were allegedly not responsive to detainee

concerns and were verbally abusive. Id. at 10. Ms. Ozturk had

difficulty sleeping due to loud noises and constant lighting

throughout the night. Id. at 10-11. Poor food quality was also

an issue. Id. at 11. From the outset, Ms. Ozturk reported that

cells were overcrowded, hygiene supplies were inadequate, and



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that she was not provided certain religious materials. ECF No.

82-10 at 6-7.

     Ms. Ozturk’s counsel has provided the Court with numerous

letters of support which attest to Ms. Ozturk’s qualities as a

person. Representative examples describe her as “compassionate,”

“service-minded,” “conscientious,” “gentle” and “caring.” See

ECF No. 90 at 6, 9, 14, 52. Nothing in the record suggests

otherwise.

     Going forward, the Dean of the Graduate School of Arts and

Sciences at Tufts informs the Court that Ms. Ozturk will have

several sources of income this coming summer as a result of her

teaching and research and that the University will be able to

provide her with housing. ECF No. 122-7 at 3. The Court also

received a Declaration from personnel at the Burlington

Community Justice Center, which was ready and willing to provide

pre-trial services to Ms. Ozturk upon her release. ECF No. 122-8

at 3. Ms. Ozturk reported that within the Tufts community she

has a core group of close friends, as well as a larger group of

friends and colleagues to which she will be returning.

     On May 9, 2025, the Court heard testimony from Ms. Ozturk.

The testimony from Ms. Ozturk confirmed the nature of her

academic work, her ties to her community in Massachusetts, her

desire to return to her academic studies, and the continued

decline of her health. Ms. Ozturk reported that since the

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submission of her last court filing on May 2, she had

experienced 4 additional asthma attacks. And as a witness

testified at the bail hearing, Ms. Ozturk appeared to suffer

another asthma attack and was temporarily excused from the

hearing to obtain her inhaler.

     The Court also heard testimony from three witnesses who had

previously submitted sworn affidavits. Testimony from the

physician who had consulted with Ms. Ozturk remotely and

reviewed her medical records expanded on the serious risk of Ms.

Ozturk’s worsening asthma without proper management and

treatment. Testimony from Ms. Ozturk’s primary academic advisor

reiterated Ms. Ozturk’s strong ties to her community and her

generous and compassionate character, as well as the potential

negative academic and professional consequences of continued

detention. Finally, testimony from an official with the

Burlington Community Justice Center reiterated that

organization’s ability to provide supervision and support

services for Ms. Ozturk if she were released.

                               Discussion

     Ms. Ozturk requested release from custody pending

resolution of her habeas petition. Ms. Ozturk argued that the

Court has the inherent authority to order such a release,

subject to the analysis in Mapp v. Reno. 241 F.3d 221 (2d Cir.

2001). The government countered that the Court lacks authority

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to consider release because of various jurisdictional bars, ECF

No. 84 at 1-6, but the government otherwise acknowledged that if

the Court did have such authority, Mapp is likely the

controlling standard. Id. at 1-2. As previously discussed,

following the circuit court’s May 7 Opinion the Court will not

reconsider its April 18 jurisdictional determinations at this

time. The Court has the authority to grant release pending the

adjudication of Ms. Ozturk’s habeas petition. Therefore, the

only question before the Court was whether Ms. Ozturk’s release

is appropriate under a Mapp analysis.

     Mapp v. Reno established the controlling bail standard: “a

court considering a habeas petitioner’s fitness for bail must

inquire into whether the habeas petition raises substantial

claims and whether extraordinary circumstances exist that make

the grant of bail necessary to make the habeas remedy

effective.” 241 F.3d at 230 (cleaned up). Sibling courts have

typically interpreted this standard to require three findings.

See, e.g., Mahdawi v. Trump, 2025 WL 1243135, at *8-14 (D. Vt.

Apr. 30, 2025). The Court must find (1) substantial claims, (2)

extraordinary circumstances, and (3) grant of bail is necessary

to make the habeas remedy effective. Id. (applying Mapp). The

Mapp court noted that this standard is “difficult,” and the

burden falls on the petitioner to make the necessary

demonstrations. 241 F.3d at 226.

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     Though not explicitly a part of the Mapp standard, it is

also appropriate for the Court to consider whether the

petitioner is a risk of flight or a danger to the community. Id

at 244 (noting that the district court had ordered release after

finding that petitioner was not a serious flight risk or threat

to the community.); see also Black v. Decker, 103 F.4th 133, 157

(2d Cir. 2024) (“Both sections 1226(a) and (c) aim to prevent

flight and danger to the community.”); Velasco Lopez v. Decker,

978 F.3d 842, 857 (2d Cir. 2020) (“The Government . . . has no

interest in the continued incarceration of an individual who it

cannot show to be either a flight risk or a danger to his

community.”)

     In the April 18 Opinion, the Court instructed the parties

to submit briefing and evidence related to bail by May 2, 2025.

On May 2, Ms. Ozturk filed a supplemental memorandum and

evidence with the Court. ECF No. 122. The government did not

file additional briefing or evidence. At the May 9 bail hearing,

the government maintained that its objections to Ms. Ozturk’s

release were primarily related to the Court’s jurisdiction, and

the government wished to preserve those arguments for any

potential appeal. The government did raise arguments related to

conditions of release, on which the Court subsequently ordered

further briefing. See ECF Nos. 130, 131. But the government did

not make substantive arguments in relation to the Mapp factors.

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The Court therefore considered the government’s substantive

opposition to Ms. Ozturk’s bail from its April 10, 2025,

briefing. ECF No. 84.

         For the reasons below, the Court found that Ms. Ozturk has

made the necessary demonstrations under Mapp, and the Court

further found that she does not pose a risk of flight or danger

to the community. Therefore, release was appropriate.

    I.     Substantial Claims

         Ms. Ozturk has raised two primary constitutional claims

related to her arrest and detention.1 Ms. Ozturk argued that the

government’s actions have violated her First Amendment right to

free speech and association. She further argued that her arrest

and detention were intended to be, and actually are, punitive in

violation of her Fifth Amendment due process rights. A detailed

summary of these claims and the Court’s analytic framework was

outlined in the April 18 Opinion. On May 9, the Court found that

Ms. Ozturk’s habeas petition raised substantial claims of both

violations.

           a. First Amendment

         As a threshold matter, the Court’s April 18 Opinion stated

that “in the absence of additional information from the


1 Ms. Ozturk also raised claims based on the Administrative
Procedure Act and the Accardi doctrine. ECF No. 82-1 at 14. Thus
far it has not been necessary for the Court to evaluate those
claims as litigation has proceeded on other grounds.
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government, the Court’s habeas review is likely to conclude that

Ms. Ozturk has presented a substantial claim.” ECF No. 104 at

57-58. Specifically, the Court took note of Secretary Rubio’s

public statements seemingly offering to make presentations in

court to justify Ms. Ozturk’s detention, id. at 50, and the

Court invited an immediate submission of any relevant evidence.

Id. at 57. No such submission has been received by this Court.

In its absence, the Court concluded that Ms. Ozturk has

presented a substantial First Amendment claim.

      To briefly summarize, Ms. Ozturk has argued that her arrest

and detention are retaliation for her co-authorship of an op-ed

in a student newspaper. The government has identified her op-ed,

and potentially related associations, as the precipitating

factor for her visa revocation. Id. at 9 (quoting a State

Department memorandum revoking her visa). As the Court cited in

its April 18, 2025, Opinion and Order, then-candidate Trump

reportedly threatened to deport foreign students involved in

campus protests. Id. at 49. And Secretary of State Marco Rubio,

in response to press inquiries about Ms. Ozturk’s arrest, opined

that Ms. Ozturk’s activities “meet the standard of what I’ve

just described to you: people that are supportive of movements

that run counter to the foreign policy of the United States” and

that detention was “basically asking them to leave the country.”

Id.

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     Arrest and detention, let alone termination of status, are

not a natural consequence of visa revocation. Ms. Ozturk has

presented credible evidence to show that similarly situated

individuals historically have not been detained following visa

revocation or termination of status. ECF No. 122 at 8

(summarizing submitted declarations from attorneys with

considerable experience with student visas).

     To date, the government has neither rebutted the argument

that retaliation for Ms. Ozturk’s op-ed was the motivation for

her detention nor identified another specific reason for Ms.

Ozturk’s detention, arguing instead that such decisions are

committed to the discretion of the executive branch. ECF No. 84

at 5. While it is uncontested that the government has discretion

in this area, that discretion is not accompanied by the

authority to violate the Constitution.

     The Court need not decide at this stage whether Ms.

Ozturk’s detention actually constitutes a First Amendment

violation. As the April 18 opinion established, Ms. Ozturk’s op-

ed carries all the hallmarks of protected speech on public

issues, and it does not fall into any recognized exception. ECF

No. 104 at 52-55. A First Amendment retaliation claim requires

showing a causal connection between protected speech by Ms.

Ozturk and adverse action by the government. Id. at 55 (quoting

Demarest v. Town of Underhill, 2025 WL 88417, at *2 (2d Cir.

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2025). The record before this Court shows that the only speech

at issue is Ms. Ozturk’s op-ed, and her arrest and detention

clearly constitute adverse action. On April 18, the Court

offered the government the opportunity to rebut Ms. Ozturk’s

evidence showing that her op-ed is the but-for cause of her

detention. ECF No. 104 at 56-58. The government has not done so.

Meanwhile, Ms. Ozturk has introduced significant evidence

demonstrating the irregular nature of the government’s actions.

ECF No. 122 at 8. The Court therefore concluded that Ms. Ozturk

has presented, at the very least, a substantial claim of a First

Amendment violation.2


2 The Court previously posited that the test for First Amendment
retaliation claims may be open to debate after Nieves v.
Bartlett, 587 U.S. 391 (2019). ECF No. 104 at 55-56. Petitioner
subsequently argued that Nieves was inapposite in the habeas
context and Mt. Healthy Sch. Dist. Bd. Of Educ. v. Doyle, 429
U.S. 274 (1977) should govern the Court’s inquiry, while
Respondents provided no argument. The Court finds that Ms.
Ozturk has presented a substantial claim at this stage no matter
the applicable test. The Court invites further briefing on the
appropriate standard for First Amendment retaliation claims in
civil immigration habeas proceedings prior to final disposition.
In addition, the Court notes that a court in the District of
Massachusetts recently found that plaintiffs in that case
“plausibly alleged the existence of both an ideological-
deportation policy targeting protected political speech and a
more informal campaign of censorship through threats.” Am. Ass’n
of Univ. Professors v. Rubio, 2025 WL 1235084, at *20 (D. Mass.
Apr. 29, 2025). The Court invites briefing on whether the
potential existence of such a policy would instead implicate the
First Amendment retaliation test in Lozman v. Riviera Beach, 585
U.S. 87 (2018). Finally, the Court notes that, in similar
litigation proceeding in other courts, the government has argued
that non-citizens may not share the First Amendment protections
of citizens, Bridges v. Wixon notwithstanding. See, e.g.,
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       b. Due Process

     In its April 18 Opinion, the Court stated, “Where a

detainee presents evidence that her detention, though

discretionary, is motivated by unconstitutional purposes in

violation of the Due Process Clause, the Court may reasonably

conclude the same in the absence of countervailing evidence.”

ECF No. 104 at 62. The Court invited the government to rebut Ms.

Ozturk’s claims of an improper, punitive motivation for her

detention, but the Court has received no such evidence.

Therefore, on May 9 the Court concluded that Ms. Ozturk has

presented a substantial claim of a due process violation by the

government.

     Civil detention by the government of individuals like Ms.

Ozturk who are undergoing removal proceedings is authorized by

Congress in 8 U.S.C. § 1226(a). The government has argued that

such detention is completely at the discretion of the

government. ECF No. 84 at 3. However, that discretion may not be

deployed for any purpose of the government’s choosing. Detention

is primarily permitted for two purposes: preventing danger to

the community and ensuring an individual in proceedings does not

abscond. Zadvydas v. Davis, 533 U.S. 678, 690 (2001). In



Opposition to Motion for Release Under Mapp v. Reno, Mahdawi v.
Trump, Docket No. 2:25-cv-00389, ECF No. 42 at 5. The Court
invites briefing on the nature and extent of this distinction,
if any, in this case’s context.
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contrast with criminal incarceration, civil immigration

detention is not permissible for a punitive purpose. Id.

     The government could have demonstrated that Ms. Ozturk’s

detention was motivated by a desire to prevent a danger to the

community or a flight risk.3 However, Ms. Ozturk has instead

shown that her detention is likely motivated by improper

purposes.

     Ms. Ozturk argued that her detention is punishment for her

op-ed, and that her punishment is intended to serve as a warning

to other non-citizens who are contemplating public speech on

issues of the day. The Court found that Ms. Ozturk has presented

credible evidence to support her argument, including her own

testimony describing her terror during her irregular arrest,

statements by the Secretary of State describing the purpose of

the government’s actions, sworn declarations from immigration

attorneys attesting to the unusual nature of Ms. Ozturk’s case,

and a sworn declaration from the Tufts University president

describing the resulting climate of fear among the international

members of the school community. The Court need not conclude at

this stage that Ms. Ozturk’s arrest and detention are actually

punitive in violation of her due process rights. However, for




3 An immigration judge’s finding at a bond hearing are discussed
below. For this analysis, the Court notes only that the
immigration judge’s determination did not precede detention.
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the purpose of Mapp, the Court found that Ms. Ozturk has

demonstrated a substantial claim of a violation of due process.

  II.    Extraordinary Circumstances

     Mapp requires that the court find “extraordinary

circumstances” before granting bail. Extraordinary circumstances

are evident across multiple dimensions of this case.

     First, the Court considered the unusual sequence of events

that led to Ms. Ozturk’s present detention in Louisiana. Not

only was Ms. Ozturk arrested and transported out of

Massachusetts in a striking manner, but she was further flown to

Louisiana despite a court order issued on an emergency basis by

a federal court in Massachusetts which was intended to preserve

the status quo. ECF No. 104 at 68-72. This Court previously

criticized the government’s response to the order issued on the

evening of Ms. Ozturk’s arrest, id., and ordered Ms. Ozturk’s

return to Vermont “in part to effectuate the district court in

Massachusetts’s order, returning Ozturk to the status quo at the

time of issuance and in part to ensure continued respect for

orders issued by Article III courts.” Ozturk v. Hyde, 2025 WL

1318154, at *14 (2d Cir. May 7, 2025) (cleaned up). The

reviewing circuit court determined that “equity favors such a

determination.” Id. Needless to say, it is an extraordinary

circumstance when an individual is transported across the

country despite a court order.

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     Second, the facts underlying Ms. Ozturk’s substantial

claims present an extraordinary circumstance. The government has

not claimed that Ms. Ozturk violated any civil or criminal laws

requiring her removal from the country. Instead, a year after

Ms. Ozturk co-authored an op-ed in a campus newspaper, the

government seemingly discovered the op-ed and exercised its

discretion to revoke Ms. Ozturk’s student visa, and then took

further steps to terminate her status, arrest, and detain her.

ECF No. 83 at 21, n. 5. In defense of these actions, the

government has not provided anything beyond Ms. Ozturk’s

political speech. As Judge Crawford recently explained in a

similar case, these are not unprecedented actions by the

government, but they are nonetheless extraordinary. Mahdawi, 2025

WL 1243135, at *12-13.

     Finally, Ms. Ozturk’s declining health in custody provides

another basis for finding extraordinary circumstances. The Court

received testimony and affidavits expressing concern about Ms.

Ozturk’s conditions of confinement which appeared to be

exacerbating her underlying medical conditions. The Court takes

seriously the testifying physician’s warning that Ms. Ozturk’s

asthma could be life-threatening if not properly managed.

Therefore, Ms. Ozturk’s health now constitutes an additional

extraordinary circumstance which warranted immediate release.



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  III. Necessary to Make the Habeas Remedy Effective

     Ms. Ozturk has spent over six weeks in detention, and she

has established substantial claims that her detention is

unconstitutional. Her release is now necessary as the Court

continues to consider the merits of her habeas petition.

      The evidence before the Court showed that Ms. Ozturk’s

health has declined precipitously over the last six weeks, and

she is at risk for needing emergency medical care, which may be

difficult to obtain in detention. Her detention also had a

negative impact on her academic, professional, and personal

life, as has been established by voluminous affidavits and

testimony. “When the Government incarcerates individuals it

cannot show to be a poor bail risk . . . it separates families

and removes from the community breadwinners, caregivers,

parents, siblings and employees. The Government articulates no

public interest that any of this serves and we see none.”

Velasco Lopez, 978 F.3d at 855.

     Ms. Ozturk’s detention necessarily constitutes an

infringement of her First Amendment rights and her right to

liberty. While such an infringement may be justified if the

government presented a legitimate purpose for it, see Jones v.

N. Carolina Prisoners’ Lab. Union, Inc., 433 U.S. 119, 125

(1977), the government has not done so in this case. If the

Court later finds that Ms. Ozturk’s substantial claims are in

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fact proven claims, her detention will have been an

unconstitutional deprivation with no public purpose or benefit.

Meanwhile, Ms. Ozturk’s continued detention restricts her

ability to speak freely and potentially chills the speech of

other non-citizens. For all these reasons, the Court found that

bail was necessary to make the habeas remedy effective.

  IV.    Risk of Flight and Danger to the Community

     The Court found that Ms. Ozturk has presented substantial

claims and that extraordinary circumstances make the grant of

bail necessary for the habeas remedy to be effective. As is

customary in bail considerations, the Court continued on to

consider whether the detainee presents a risk of flight or

danger to the community which may make release inappropriate.

The Court considered the totality of evidence presented and

found that Ms. Ozturk does not pose a risk of flight or a danger

to the community.

     The Court is aware that on April 16, 2025, an immigration

judge in Louisiana denied Ms. Ozturk’s request for a change in

custody status and provided “Danger and Flight Risk” as the

rationale. ECF No. 101-1 at 4. The Court does not here, as the

government has argued, conduct “improper judicial review of a

bail determination” of the immigration judge. ECF No. 84 at 3.

The Court instead considers the immigration judge’s finding as

potential evidence in the government’s favor. In the April 18

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Opinion, the Court took notice of that finding, which was

supplied to the Court by Ms. Ozturk, as well as DHS’s reported

contention at immigration judge’s bond hearing that Ms. Ozturk

posed a flight risk. ECF 104 at 61-62. The Court further invited

the government to submit evidence supporting that determination

to the record in this case. Id. The government did not present

any such evidence.

     This is an Article III court. It is obligated to conduct an

independent and rigorous review of the evidence that is a part

of the record in this case. Immigration judges, by contrast, are

executive branch employees subject to executive branch orders.

The Court does not seek to disturb or set aside the immigration

judge’s finding—indeed if Ms. Ozturk’s habeas petition is

unsuccessful, she may presumably be again subject to potential

discretionary detention—but neither is this Court bound by an

executive branch employee’s finding apparently unsupported by

evidence. Such deference would obviate the purpose of habeas

corpus as enshrined in the Constitution:

     In our own system the Suspension Clause is designed to
     protect against these cyclical abuses. The Clause
     protects the rights of the detained by a means
     consistent with the essential design of the
     Constitution. It ensures that, except during periods
     of formal suspension, the Judiciary will have a time-
     tested device, the writ, to maintain the delicate
     balance of governance that is itself the surest
     safeguard of liberty. The Clause protects the rights
     of the detained by affirming the duty and authority of
     the Judiciary to call the jailer to account.

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Boumediene v. Bush, 553 U.S. 723, 745 (2008) (cleaned up).

     The Court is not bound by the immigration judge’s analysis

for an additional reason. This Court has inherent authority to

grant bail in immigration habeas cases after making the

necessary findings. Mapp, 241 F.3d at 222. In this case, those

findings include substantial claims of constitutional

violations, as discussed above. As the circuit court has

recognized, “neither the IJ nor the BIA has jurisdiction to

decide constitutional issues.” Ozturk, 2025 WL 1318154, at *12

(2d Cir. May 7, 2025) (internal quotation omitted). In part for

that reason, the circuit court was “not persuaded that an IJ or

the BIA would have developed a sufficient factual record, or any

record at all, with respect to the challenged detention[.]” Id.

(emphasis in original). As discussed above, constitutional

issues permeate this case and necessitate the grant of bail.

     Both preceding and following the April 18 Opinion, the

Court received significant credible evidence attesting to Ms.

Ozturk’s peaceful and compassionate character as well as to her

ties to her university and her community. This evidence includes

numerous sworn affidavits as well as testimony from Ms. Ozturk’s

academic advisor and Ms. Ozturk herself. This demonstration

contrasts with the complete lack of evidence from the government

suggesting Ms. Ozturk is a danger or at risk of flight. There is


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no evidence that Ms. Ozturk has engaged in violence or advocated

violence, and she has no criminal record. Nor does any of her

conduct suggest a risk of flight. Instead the evidence before

the court showed that Ms. Ozturk is committed to her academic

career and her community. Therefore, the Court found that Ms.

Ozturk does not pose a danger to the community, nor does she

present a risk of flight.

         Ms. Ozturk’s motion for immediate release was granted at

the May 9 hearing, subject to the following conditions.4

    V.     Conditions of Release

         Ms. Ozturk was ordered to be immediately released on her

own recognizance, without Body-Worn GPS. Ms. Ozturk is free to

travel as she sees fit, as the Court has not found any risk of

flight and Ms. Ozturk’s academic career necessitates travel. Ms.

Ozturk was ordered to have at least monthly contact with the

Burlington Community Justice Center to monitor and support her

reintegration into her community following these traumatic

events. The Burlington Community Justice Center was ordered to

submit a monthly report to the Court detailing Ms. Ozturk’s

status, activities over the previous month, and future plans.




4 The government did not move for a stay of release pending
appeal; however, petitioner’s counsel raised the possibility in
her argument. The Court found that a stay would not be
appropriate under Nken v. Holder, 556 U.S. 418 (2009), because
all four factors weigh in favor of Ms. Ozturk.
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     Government’s counsel requested additional conditions of

release that are common for immigration detainees who have been

granted bail. The Court instructed both parties to confer and

attempt to find consensus on modest additional conditions and

submit a proposal to the Court.

                               Conclusion

     For the reasons above, Ms. Ozturk was ordered immediately

released at her bail hearing on May 9, 2025, pending the

resolution of her habeas petition.

     The Court found that Ms. Ozturk demonstrated substantial

claims of First Amendment and Due Process Clause violations

related to her detention. At this stage in the proceedings,

there is no evidence to support Ms. Ozturk’s continued detention

absent consideration of her op-ed. Her substantial claims, which

have been largely unrebutted by the government, are that her

detention is retaliation for her op-ed in a school newspaper and

that her detention is punitive, in part to serve as a message to

others contemplating similar speech.

     The Court found that extraordinary conditions exist in this

case. In particular, the government’s actions in ignoring a

court order while arresting and transporting her to Louisiana

constitute extraordinary circumstances. Further, extraordinary

circumstances exist given the nature and strength of Ms.



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Ozturk’s constitutional claims and her demonstration that her

detention exacerbated an underlying medical condition.

     The Court found that immediate release was necessary to

make the habeas remedy effective. As demonstrated by testimony

and affidavits, continued detention may have potentially severe

consequences for Ms. Ozturk’s health. Immediate release was also

necessary to ameliorate the chilling effect that Ms. Ozturk’s

arguably unconstitutional detention may have on non-citizens

present in the country.

     Finally, the Court found that Ms. Ozturk does not present a

danger to the community or a risk of flight. This Article III

Court was obligated to conduct an independent, rigorous review

of all evidence presented, and the Court concluded that Ms.

Ozturk is a cherished member of her community who exhibits a

caring and compassionate character. On those bases, Ms. Ozturk’s

immediate release was warranted, and Ms. Ozturk’s motion for

release, ECF No. 82, was granted.

     DATED at Burlington, in the District of Vermont, this 16th

day of May 2025.

                                         /s/ William K. Sessions III
                                         Hon. William K. Sessions III
                                         U.S. District Court Judge




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